       Case 1:08-cr-00086-ELH    Document 1031     Filed 06/28/10       Page 1 of 5



                   IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF MARYLAND, NORTHERN DIVISION

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UNITED STATES OF AMERICA
                                      *
             v.                               CRIMINAL NO.: WDQ-08-0086
                                      *
STEVE WILLOCK, et al.
                                      *

*      *     *      *     *      *    *       *     *     *         *      *     *    *

                                MEMORANDUM OPINION

       On April 1, 2010, Defendant Michelle Hebron pled guilty to

Conspiracy to Participate in a Racketeering Enterprise.                        In four

letters to the Court and at sentencing, Hebron moved to withdraw

the plea.     For the following reasons, her motion was denied.

I.     Background

       The following facts were agreed to by Hebron and included

as Attachment A to the April 1, 2010 Plea Agreement.                      Paper No.

920.    Hebron was a member of the Tree Top Pirus (“TTP”) set of

the Bloods gang.        TTP originated in Compton, California, and

gradually spread across the country.              Under the leadership of

Steve Willock--who was imprisoned in Hagerstown, Maryland--the

gang grew, mostly within the state prison system.                   TTP members

in Maryland adopted the rules, protocols and practices of the

California set, including identification with the color red and

a long-term, often violent rivalry with the Crips gang, whose

signature color is blue.


                                          1
       Case 1:08-cr-00086-ELH   Document 1031   Filed 06/28/10   Page 2 of 5



       Beginning in late 2006, Hebron was a dues-paying member of

TTP.    She carried on a lengthy correspondence with Willock, in

which she repeatedly affirmed her commitment to him and TTP.                   In

an April 23, 2007 letter, she told Willock “I kill, die, ride,

live, and bang for you 110%.”         Willock expressed his apprecia-

tion for Hebron’s commitment in a May 2, 2007 letter, in which

he wrote that he “looked at [Hebron] as a potential leader of

the Pirettes,” the female subset of TTP.

       On October 5, 2007, David Leonard Moore of Hagerstown,

Maryland was murdered in the apartment building where Hebron

lived.     A witness identified Hebron as the shooter, and told

police that Hebron had stated, “That’s what the crab gets.”1                   A

search of Hebron’s apartment uncovered the gun that was used in

the shooting and a note--in handwriting similar to that used in

the letters to Willock--that read, “Red robins flyin round my

head nig** going brazy I guess just shot a nig** in the head

cause he wear blue but claim red/plus I just wanted the

satisfaction of seeing a nig** dead.”

       On April 1, 2010, Hebron pled guilty, under Fed. R. Crim.

P. 11(c)(1)(C), to Conspiracy to Participate in a Racketeering

Enterprise in violation of 18 U.S.C. § 1962(d).             The plea letter

stipulated that a sentence within the range of 300 to 360 months


1
    A “crab” is a member of the Crips gang.

                                       2
    Case 1:08-cr-00086-ELH   Document 1031   Filed 06/28/10   Page 3 of 5



was the appropriate disposition of the case.         At the rearraign-

ment, Hebron testified that she had reviewed the Plea Agreement

with counsel and understood it.      Finding that Hebron had

knowingly and voluntarily entered the plea with advice of

counsel, and that there was a sufficient factual basis for the

plea, the Court accepted it, and entered a guilty verdict.

     In an April 14, 2010 letter to the Court, Hebron stated

that “there ha[d] been a misunderstanding” at the April 1

rearraignment.   She explained that her counsel had lied to her

about the stipulated sentencing range and that the agreement

with which she was presented in Court differed from the one she

reviewed upon returning to jail.        Hebron maintains that her

counsel told her that the sentencing range would be 200 to 260

months, and that the agreement she was shown in Court reflected

that range.2

     Hebron says if she had known that she faced a sentence of

300 to 360 months, she would not have entered the plea.             Letters

dated April 21 and 26, 2010 raised similar concerns.            On June

21, 2010, Hebron conceded that the Plea Agreement stipulated a

300 to 360 month sentencing range, but asked for a lesser

sentence in light of the fact that she did not murder David

Moore.   At the June 23, 2010 sentencing, Hebron again moved to


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  Government Exhibit 1, the plea letter signed by Hebron, in fact
states the 300-360 month agreed-upon range. See Paper No. 920.
                                    3
      Case 1:08-cr-00086-ELH   Document 1031     Filed 06/28/10   Page 4 of 5



withdraw her plea, but did not explain the basis for her

request.    The Court denied the motion and sentenced Hebron to

360 months imprisonment.

II.   Analysis

      A. Motion to Withdraw Guilty Plea

      Under Fed. R. Crim. P. 11(d)(2)(B), a defendant may

withdraw a guilty plea, if “[she] can show a fair and just

reason for requesting the withdrawal.”           Courts consider six

factors in determining whether a defendant has met this burden:

“(1) whether the defendant has offered credible evidence that

h[er] plea was not knowing or not voluntary, (2) whether the

defendant has credibly asserted h[er] legal innocence, (3)

whether there has been a delay between the entering of the plea

and the filing of the motion, (4) whether defendant has had

close assistance of competent counsel, (5) whether withdrawal

will cause prejudice to the government, and (6) whether it will

inconvenience the court and waste judicial resources.”                 United

States v. Moore, 931 F.2d 245, 248 (4th Cir. 1991).

      Although Hebron moved to withdraw the plea only two weeks

after entering it, the other factors militate against permitting

withdrawal.     Hebron has not offered credible evidence that her

plea was not knowing and voluntary.            She asserts counsel

misinformed her about the potential sentence and that she signed

an Agreement that set the sentencing range at 200 to 260 months.

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    Case 1:08-cr-00086-ELH   Document 1031   Filed 06/28/10   Page 5 of 5



But these assertions are contradicted by the Agreement itself,

which Hebron and her counsel signed, and which states that the

stipulated range is 300 to 360 months.

     Nor has Hebron credibly asserted her innocence.            Her June

21, 2010 letter to the Court neither contradicts the stipulated

facts establishing her guilt nor offers evidence supporting her

innocence.

     Hebron has had the close assistance of competent counsel,

who has shown exemplary patience and skill in dealing with her.

Hebron acknowledged her satisfaction with counsel’s services at

the April 1 rearraignment.      Permitting withdrawal would

prejudice the Government and inconvenience the Court.            Hebron

was originally scheduled for trial with two other defendants on

January 19, 2010.    Her last-minute attempt to discharge her

counsel resulted in her inclusion in the April 1, 2010 trial

group.   Hebron’s motion to withdraw her guilty plea appears to

be another attempt to evade the resolution of her case.

     Hebron has not shown a fair and just reason for withdrawing

her plea.    Accordingly, her motion was denied.




June 28, 2010                           __________/s/_______________
Date                                    William D. Quarles, Jr.
                                        United States District Judge



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